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ECONOMIC LOSS VALUATION FOR
DOUGLAS AND CINDY HORN

Statement of Disinterest

1. The estimates contained herein are based on techniques generally accepted
by the economics profession for the valuation of economic loss.

2. The fees charged for my services are not contingent upon the final award or
outcome of this case.

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August 23, 2017
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INTRODUCTION

This report projects economic losses for Douglas and Cindy Horn who suffered
lost compensation as a result of deceptive business practices. Mr. and Mrs.
Horn were employed as team over-the-road commercial truck drivers for the
Enterprise Products Company in 2012 when they were terminated as a result of
the deceptive business practices of the defendants. Subsequent to their
termination, the Horn’s suffered lost wages, fringe benefits and returns on
premature distributions from their IRA and 401K accounts.

ASSUMPTIONS

1. Had it not been for the deceptive business practices of the defendants, Mr.
and Mrs. Horn would have remained employed as team over-the-road
commercial truck drivers for the Enterprise Products Company.

2. Mr. and Mrs. Horn will remain employed as team over-the-road
commercial truck drivers through Mr. Horn’s statistical worklife expectancy. Mr.
Horn’s statistical worklife expectancy on September 1, 2017 was 11.63 years
(“The Markov Process Model of Labor Force Activity: Extended Tables of Central
Tendency, Shape, Percentile Points, and Bootstrap Standard Errors, G.R.
Skoog, J.E. Ciecka and K.V. Krueger, Journal of Forensic Economics, 2011).
The Horn’s exit the labor force 29 percent through the year 2029.

3. Had they remained employed at the Enterprise Products Company, Mr.
and Mrs. Horn’s wages over the period 2012-2015 would have amounted to
$113,140, $143,200, $146,350, and $149,570, respectively. In 2016, the Horn’s
would have received a 6.25 percent premium above their actual 2016 wages.
Subsequent to 2016, their wages would have grown by a 2.2 percent per year
[www.bls.gov].

4, Over the period 2012-2016, Mr. and Mrs. Horn’s actual wages amounted
to $88,249, $33,356, $63,164, $129,254 and $156,196, respectively.
Subsequent to 2016, their actual wages will grow by 2.2 percent per year.

5. Subsequent to their termination from the Enterprise Products Company,
the Horn’s formed their own business titled Horn’s Transport, LLC. They incurred
losses from this business amounting to $11,201 in 2013 and $17,773 in 2014.

6. The Enterprise Products Company was providing the Horn’s with family
health insurance coverage valued at $1,800 per month in 2012. The Horn’s were
contributing $2,028 towards the cost of this coverage in 2012. Had they
remained employed at the Enterprise Products Company, employer provided
health benefits would have continued in the future. Subsequent to their
termination from the Enterprise Products Company, the Horn’s have not received
employer provided health benefits and will not receive heaith benefits in the
future. Lost health benefits begin in September 2017 and are valued at $1,631
per month. The cost of health benefits grows by 5 percent per year subsequent
to 2017.
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7. The Enterprise Products Company was contributing 2 percent of the
Horn's wages into their 401K plan. These benefits would have continued in the
future. Since their termination, the Horn’s have not received any employer
provided 401K contributions and will not receive 401K contributions in the future.

8. The Horn’s were forced to take a distribution from their IRA in 2013
amounting to $74,136 to meet their expenses. They were forced to take a
distribution from their 401K plan in 2014 amounting to $83,203 to meet their
expenses. The Horn’s would not have taken these distributions had it not been
for their termination. Over the period 2014-2016, lost returns on the IRA and
401K distributions are based on the returns from the Vanguard Target
Retirement 2030 Fund. The annual rates of return on this fund were: 7.17%,
-1.03%, and 7.85%, respectively [performance.morningstar.com]. Subsequent to
2016, the annual rate of return on these pre-mature distributions is assumed to
be 2.41%. This is based on the yield on the zero coupon U.S. Treasury security
maturing in February 2029 [cnline.wsj.com, August 22, 2017].

9. Nominal discount rates on zero coupon U.S. Treasury securities that
match the maturity of the cash flows were used to reduce future lost
compensation to present value [online.wsj.com, August 22, 2017]. A 2.41%

discount rate was used to reduce future lost return on the premature IRA and
401K distributions to present value.

CONCLUSIONS

Past lost compensation amounts to $300,249.

The present value of future lost compensation amounts to $458,836.

Past lost return on the premature IRA and 401K distributions amount to $19,828.

The present value of future lost return on the premature IRA and 401K
distributions amounts to $57,630.

The present value of total economic damages amounts to $836,544.
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To project Mr. and Mrs. Horn's economic loss, | relied on the following
information:

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Mr. and Mrs. Horn’s federal tax returns and W-2 statements 2009-
2016.

Mr. and Mrs. Horn’s social security earnings statements.

Mr. and Mrs. Horn’s paystubs.

U.S. Department of Labor website, www.bis.gov.

Wall Street Journal website, online.wsj.com.

“The Markov Process Model of Labor Force Activity: Extended Tables
of Central Tendency, Shape, Percentile Points, and Bootstrap
Standard Errors, G.R. Skoog, J.E. Ciecka and K.V. Krueger, Journal of
Forensic Economics, 2011.

United States Life Tables. 2012, U.S. Department of Health and
Human Services, Centers for Disease Control and Prevention.
Morningstar website, performance.morningstar.com.

Enterprise Retirement Plan, Retirement Savings Statement.

1 bill ata rate of $250 per hour for my services.

1 reserve the right to revise this report should new information become available.
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